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              IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF GEORGIA
                      STATESBORO DIVISION

TELLAS LEVALLAS KENNEDY                     )
                                            )


       V.                                   )       CV 615-116
                                            )       CR612-18
UNITED STATES OF AMERICA                    )


                                        ORDER

       After an independent review of the record, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed.

Accordingly, the Report and Recommendation of the Magistrate Judge is adopted as the

opinion of the Court.



                        So ORDERED, this
                                           V    day of January, 2016.




                                            LA GODBEY WOOD, CHIEF JUDGE
                                            (JNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF GEORGIA
